
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-2050

                                    ROSSY COYANTE,

                                Plaintiff - Appellant,

                                          v.

                         PUERTO RICO PORTS AUTHORITY, ET AL.,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. P rez-Gim nez, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                     Coffin and Campbell, Senior Circuit Judges,
                                          _____________________

                         and DiClerico, Jr.,* District Judge.
                                              ______________

                                _____________________

               Antonio Jim nez-Miranda for appellant.
               _______________________
               Raymond P.  Burgos, with  whom Pinto-Lugo  &amp;  Rivera was  on
               __________________             _____________________
          brief for appellee Puerto Rico Ports Authority; Roberto  M rquez-
                                                          _________________
          S nchez  with whom  Law Offices  of Benjam n  Acosta, Jr.  was on
          _______             _____________________________________
          brief for appellee Mangual Maintenance Services, Inc.



                                 ____________________

                                   January 23, 1997
                                 ____________________



                              
          ____________________

          *  Of the District of New Hampshire, sitting by designation.














                    DICLERICO, Chief District Judge.   The plaintiff, Rossy
                    DICLERICO, Chief District Judge.
                               ____________________

          Coyante, filed  a complaint  against the defendants,  Puerto Rico

          Ports  Authority  ( Ports  Authority )  and  Mangual  Maintenance

          Services, Inc.  ( Mangual ), seeking  damages she claims  to have

          suffered  as a result of slipping and falling on certain premises

          allegedly owned  or controlled by the defendants.  Following nine

          days  of  testimony  at  trial,  the  plaintiff  rested  and  the

          defendants moved  for judgment as a  matter of law under  Fed. R.

          Civ.  P.  50(a) asserting  that  the  plaintiff had  produced  no

          evidence to establish that the defendants owned or controlled the

          area  where the plaintiff slipped  and fell.   The district court

          agreed  with  the  defendants  and, finding  that  ownership  and

          control were necessary elements  of the plaintiff s case, entered

          a judgment against her.  In this appeal, the plaintiff challenges

          the district  court s ruling on the defendants  motion under Fed.

          R. Civ. P. 50(a) and several other rulings made during the course

          of  the litigation.  For  the reasons expressed  below, we affirm

          the district court s judgment.



                          Factual and Procedural Background
                          Factual and Procedural Background
                          _________________________________

                    On  July  24, 1990,  the  plaintiff  slipped and  fell,

          suffering    personal   injury   after   disembarking   from   an

          international  flight  at  the  Luis  Mu oz  Mar n  International

          Airport in San Juan, Puerto Rico.   On January 3, 1991, she filed






                                         -2-














          suit against  the defendants,  Ports Authority and  Mangual,1 for

          negligently  failing to  make  safe a  dangerous condition  about

          which they knew or should have known.2  The plaintiff claimed she

          suffered  damages arising not only  from the accident itself, but

          also from the pain she suffered and medical expenses she incurred

          when she  became addicted  to and  went  through withdrawal  from

          prescription medications she was taking because of the accident.

                    On March 30, 1993,  the district court, after resolving

          an initial  challenge to its jurisdiction,  granted the plaintiff

          leave to amend her complaint and ordered the defendants to answer

          the amended complaint   on or before April  12, 1993.   On  March

          31, 1993, the plaintiff  resubmitted her amended complaint (first

          submitted on February 25, 1992) but the defendants did not answer

          by April  12  as required  by the  court s order.   However,  the

          plaintiff  did not  bring this  failure to the  court s attention

          until more than two years later.

                    On  December  16, 1993,  the  district  court issued  a

          pretrial conference report requiring the parties to submit a list

          of uncontested facts.   The parties agreed to a   Joint Statement

          of Uncontested  Material  Facts  to  Supplement  Pretrial  Order 

          ( joint statement ) on December 17, 1993.  The plaintiff attaches

                              
          ____________________

          1  Mangual is a janitorial company with which the Ports Authority
          has contracted.

          2   Coyante brought a  separate action  asserting similar  claims
          against L nea Aeropostal Venezolana, the airline on which she had
          traveled.  On June 22, 1992, the two cases were consolidated.  On
          January 25,  1994, the  plaintiff and  the airline  settled their
          dispute, leaving as defendants only Ports Authority and Mangual.

                                         -3-














          particular significance to the  following provisions of the joint

          statement:

                      7.  On July 24,  1990, co-defendant Mangual
                    provided  janitorial  services  at  the  Luis
                    Mu oz Mar n International Airport pursuant to
                    a  contract   with  the  Puerto   Rico  Ports
                    Authority.

                      8.  On July 24, 1990, the Puerto Rico Ports
                    Authority  owned and operated  the Luis Mu oz
                    Mar n International Airport.

          However,  the  plaintiff alleges  that she  did  not know  of the

          existence of this document until after she filed her appeal.  

                    On  February  9,  1994,  the   plaintiff  attempted  to

          supplement  her list  of expert  witnesses with  a loss-of-income

          expert.3   On  June 9,  1995,  the court  denied  her request  to

          include this expert as a witness without articulating the reasons

          for its denial.

                    On December  12, 1994,  the court entered  a scheduling

          order requiring discovery to be concluded  by April 20, 1995.  On

          February  22,  1995, the  plaintiff  fired  her  counsel and,  on

          February 27,  1995, filed a pro se motion so informing the court.

          On  March 16, 1995, the court held  a status conference.  At that

          conference, the court  granted a motion filed  by the plaintiff s

          counsel to  withdraw from the  case and  for scheduling  purposes

          asked counsel whether further discovery was pending at that time.



                              
          ____________________

          3  The plaintiff also attempted to add other witnesses  who would
          have bolstered her case on the issue of damages.  We focus on the
          district  court s ruling on the loss-of-income expert because the
          issues involved are identical.

                                         -4-














          Counsel informed the court that no further discovery was pending,

          and the court let stand its April 20, 1995, discovery deadline.

                    On  March 23,  1995,  current counsel  appeared on  the

          plaintiff s behalf.4  The file he received from prior counsel was

          reportedly  in  disarray and  reflected  that  the plaintiff  had

          undertaken  no discovery of the  defendants.  On  April 19, 1995,

          one day before the   deadline set for discovery to  be completed,

          the plaintiff moved to  extend the discovery deadline and  take a

          deposition.  This motion was denied by the court on May 24, 1995.

                    On June 9, 1995, the plaintiff moved to supplement  the

          pretrial order issued on December 17, 1993, to reflect subsequent

          changes in  her case.   The same day,  the court held  a pretrial

          conference  and ruled  that it  would use  without  amendment the

          December 17, 1993, pretrial  order, that the plaintiff s loss-of-

          income  expert would  not  be allowed  to  testify, and  that  no

          further discovery would be allowed. 

                    In  July 1995,  after  four and  one-half years,  trial

          appeared  imminent.    However,   three  days  before  trial  the

          plaintiff submitted  a motion requesting that  default be entered

          against the  defendants for their  failure to answer  her amended

          complaint.  The  district court did not rule on this motion until

          August 3, 1995, after the conclusion of  the trial, at which time

          it declared the motion moot.
                              
          ____________________

          4  The plaintiff s counsel at trial and on appeal was the seventh
          lawyer to  appear for  her in this  litigation, not  counting her
          brief  pro se appearance.   Prior lawyers were  fired or left the
          plaintiff s  employ   for   such   reasons   as    irreconcilable
          differences  and  loss of confidence. 

                                         -5-














                    At   trial,   the  plaintiff s   case   focused  almost

          exclusively on her damages  resulting from the fall.   Beyond her

          own testimony,  she produced  only one occurrence  witness, Mirta

          Silva,  to describe the scene of the accident.  The two witnesses

          provided a detailed description both of the scene of the accident

          and  of how the accident  occurred.5  However,  neither Silva nor

          the plaintiff  identified specifically  where within the  airport

          the  accident occurred.  There  was no testimony  about what gate

          the flight used, which hallway  the passengers traveled, or where

          customs was  located.   No testimony specifically  identified the

          location  of  the  accident  within the  larger  context  of  the

          airport.6    No  testimony  connected  either  defendant  to  the

          location where the accident occurred or established what duty, if

          any,  the defendants owed to  the plaintiff to  make the location

          safe.   In fact, at  trial the plaintiff  made little mention  of

          defendant  Ports  Authority  and  produced no  testimony  at  all

          mentioning defendant Mangual.

                    At  the close  of  the plaintiff s  nine-day case,  the

          defendants moved  for judgment as a  matter of law under  Fed. R.

          Civ.  P. 50(a), alleging that the plaintiff had not presented any
                              
          ____________________

          5  The  accident occurred in a  hallway which connected the  area
          where the passengers left the airplane with  an adjoining customs
          area.  A pool of water, which apparently formed due to a crack in
          the ceiling,  covered almost the  entire width of the  hallway in
          front  of  the  door  to  customs.    The  plaintiff  fell  while
          attempting to traverse the pool.

          6  For example, an employee connected with the airport prepared a
          report  about the  accident shortly  after it  happened  that was
          presented at trial but the  report failed to specify the location
          of the accident.

                                         -6-














          evidence from which it could be found that the defendants were in

          control of and responsible for maintaining the location where the

          accident occurred.  The district court granted the motion.

                    On  September 1, 1995, the  plaintiff filed a notice of

          appeal  from  the  district  court s  Rule  50(a) decision.    In

          connection with her appeal, the plaintiff requested a copy of the

          file from the  district court  clerk and upon  inspection of  the

          file allegedly discovered for the first time the joint statement.

          The plaintiff  had not mentioned  the joint statement  during the

          presentation  of  evidence  in  her  case  or  when  opposing the

          defendants  Rule 50(a) motion.



                                      Discussion
                                      Discussion
                                      __________

                    The plaintiff on appeal has assigned as  error a number

          of  decisions by  the district  court during  the course  of this

          litigation. 

                    A.  Rule 50(a) Decision
                    A.  Rule 50(a) Decision
                    _______________________

                    The   plaintiff  contends   that  the   district  court

          improperly dismissed her case  under Fed. R. Civ. P.  Rule 50(a).

          Rule 50(a)(1) states:

                    If during  a trial by  jury a party  has been
                    fully  heard  on an  issue  and  there is  no
                    legally  sufficient  evidentiary basis  for a
                    reasonable  jury to  find  for that  party on
                    that issue, the court may determine the issue
                    against that party and may grant a motion for
                    judgment  as  a matter  of  law  against that
                    party with respect to a claim or defense that
                    cannot   under   the   controlling   law   be
                    maintained  or  defeated without  a favorable
                    finding on that issue.


                                         -7-














          We review the grant of a Rule 50(a) motion de novo.  Katz v. City
                                                     _______   ____    ____

          Metal  Co., 87 F.3d 26, 28 (1st  Cir. 1996); Andrade v. Jamestown
          __________                                   _______    _________

          Hous. Auth., 82 F.3d 1179, 1186 (1st Cir. 1996).  In doing so, we
          ___________

          use the same standards as the district court, considering all the

          evidence and inferences  reasonably to  be drawn from  it in  the

          light most  favorable to the  non-movant.  Katz,  87 F.3d  at 28;
                                                     ____

          Andrade, 82 F.3d at  1186.  However,  [t]o warrant  submission of
          _______

          an issue  to the jury,  the plaintiff  must present  more  than a

          mere scintilla  of  evidence and  may not rely  on conjecture  or

          speculation.    Katz, 87 F.3d at 28 (quoting Richmond Steel, Inc.
                          ____                         ____________________

          v. Puerto Rican  American Ins.  Co., 954  F.2d 19,  22 (1st  Cir.
             ________________________________

          1992)).

                    The plaintiff s attack on the trial court s decision to

          enter  judgment against her  as a  matter of  law centers  on two

          factors  that  she  claims   bolster  the  minimal  evidence  she

          presented:   the joint statement and the knowledge of the jurors.

          According to the plaintiff, either factor, when combined with the

          testimony about the  location of the accident,  was sufficient to

          allow  the jurors  to make an  inference in  her favor  as to the

          ownership and control of the area.

                               1.  The Joint Statement
                               1.  The Joint Statement
                               _______________________

                    The plaintiff  argues that  the joint  statement should

          have been considered as  part of her  case, and contends that  it

          was  sufficient  to  establish  that Ports  Authority  owned  and

          Mangual maintained the  area of  the airport  where the  accident

          occurred. However, the plaintiff s  argument suffers from a fatal


                                         -8-














          defect,  namely, the  joint statement  was never  introduced into

          evidence.7    It  is a  basic  tenet  of trial  procedure  that a

          stipulation concerning uncontested facts must  be introduced into

          evidence  by the  party who intends  to rely  on it  in order for

          those facts  to be considered by the trier of fact, whether it be

          jury or judge.  Contrary to the plaintiff s assertion, it was her

          responsibility, and not the court s or the defendants , to ensure

          that the joint  statement was  introduced into evidence.   As  we

          have explained,

                    in our adversary system  of justice it is the
                    parties   responsibility to  marshal evidence
                    and prove  their  points.   Litigants  cannot
                    expect  the court  to do  their homework  for
                    them.  [Citations omitted].

          Ondine Shipping Corp. v.  Cataldo, 24 F.3d 353, 356-57  (1st Cir.
          _____________________     _______

          1994).   The  plaintiff, for  whatever  reason having  failed  to

          introduce the joint statement into evidence, cannot now avoid the

          consequences  of  her  inaction  by  claiming the  court  or  the

          defendants had the responsibility to introduce it.8
                              
          ____________________

          7  Even if the plaintiff  had introduced the joint statement into
          evidence, it is by no  means a foregone conclusion that it  would
          have  sufficiently  cured  the  deficiency  in  her  evidence  to
          withstand  the Rule  50(a) motion.    We need  not confront  this
          issue,  however, because the plaintiff never introduced the joint
          statement into evidence.

          8   The  plaintiff has  also offered  two other  related theories
          concerning the effect of the  joint statement.  First, she claims
          that the  agreement that produced the joint statement should have
          barred the defendants from moving for judgment as a matter of law
          on the issues of ownership and control.  She further asserts that
          the joint statement functioned as a contract between the parties,
          one of the implied terms of which was the defendants  promise not
          to  contest  ownership and  control,  and  that  breach  of  this
          agreement  requires  reversal.   As  the  plaintiff  has produced
          neither  legal authority  nor well-reasoned  arguments for  these

                                         -9-














                              2.  The Jury s Experience
                              2.  The Jury s Experience
                              _________________________

                    The plaintiff  next contends  that she  produced enough

          evidence  at trial to  allow the jurors to  infer, based on their

          own   experience,  that  defendant   Ports  Authority  owned  and

          controlled  the  area  of  the airport  where  the  accident took

          place.9  The trial  judge, the plaintiff maintains, impermissibly

          substituted  his  judgment  for that  of  the  trier  of fact  by

          removing this decision from the jury.

                    This case  clearly does  not present a  situation where

          the  jury could rely on  its general knowledge  and experience to

          determine something  as specific as  the location and  control of

          the area where the plaintiff fell.  It would be pure  speculation

          to  assume  what,  if any,  knowledge  the  members  of the  jury

          possessed  concerning   these  specific  issues.    Although  the

          plaintiff correctly  notes that she is entitled to all reasonable

          inferences in  her favor,  tenuous conclusions  extrapolated from

          conjectural knowledge attributed to jurors  cannot substitute for

          evidence tested by the adversary process.  As we have said,  [t]o

          warrant  submission of an issue  to the jury,  the plaintiff must

          present  more than a mere scintilla  of evidence and may not rely

          on  conjecture or  speculation.    Katz, 87  F.3d at  28 (quoting
                                             ____

                              
          ____________________

          propositions, we decline to find  that either one is viable under
          the facts of this case.

          9   At  oral  argument,  the plaintiff  conceded  that  defendant
          Mangual s  liability could  be  established  only  by  the  joint
          statement,  and  not  by the  jurors   experience  and knowledge,
          because the plaintiff produced no evidence at trial that referred
          to Mangual.

                                         -10-














          Richmond  Steel, Inc. v. Puerto Rican American Ins. Co., 954 F.2d
          _____________________    ______________________________

          19, 22 (1st Cir. 1992)).  Speculation about what the jurors might

          have  inferred  based on  their  personal  knowledge of  airports

          cannot and does not save the plaintiff s case.



             3.  Other Evidence from which an Inference of Ownership or 
             3.  Other Evidence from which an Inference of Ownership or 
             ___________________________________________________________
          Control Might Arise
          Control Might Arise
          ___________________

                    We next  review  de  novo  the record  upon  which  the
                                     ________

          plaintiff rested her  case for  any evidence that  might raise  a

          reasonable inference  that  Ports  Authority  owned  and  Mangual

          maintained the  area where  the accident  occurred.   A  thorough

          search of the appellate  record reveals no evidence  more helpful

          to  the   plaintiff  than   that  considered,  and   rejected  as

          inadequate, by the district court.

                    The trial  judge  made the  following  statement  after

          considering the Rule 50(a) motion:

                      I  cannot take  judicial notice of  a place
                    that I  don t even  know which is  the place.
                    We cannot, by any stretch of the imagination,
                    and  even viewing the  evidence in  the light
                    most  favorable to  the [plaintiff],  reach a
                    reasonable  conclusion  . . . that  the place
                    where she fell, which  we don t know where it
                    is, we  don t know which gate,  we don t know
                    which  area  of the  airport,  was  under the
                    control of the Ports Authority . . . .

          Our  independent  evaluation  of  the  paucity  of  evidence  the

          plaintiff managed to  produce on  this point after  nine days  of

          trial  draws us inexorably to the same conclusion -- the evidence

          produced by the plaintiff  was insufficient to withstand judgment

          for the defendants as a matter of law.


                                         -11-














                    We conclude  that the  district court  properly granted

          the  defendants  Rule  50(a)  motion.   The  plaintiff had  ample

          opportunity at trial to produce evidence from which  the location

          of  the accident and the  ownership and control  of that location

          could be determined, but she failed to do so.



                    B.  Pre- and Post-Trial Rulings
                    B.  Pre- and Post-Trial Rulings
                    _______________________________

                    The plaintiff  next challenges  several pre-  and post-

          trial rulings by the district court.

                                    1.  Discovery
                                    1.  Discovery
                                    _____________

                    The plaintiff asserts that  the district court erred in

          prematurely ordering  that discovery be concluded  when it failed

          to extend the discovery  deadline.  She argues that  the district

          court  improperly decided  that no  further discovery  was needed

          based on a conference  in which an attorney previously  dismissed

          by the plaintiff purported to act as her counsel.   We review the

          district  court s  decision  refusing  to  extend  the  discovery

          deadline  for abuse  of discretion.   Mulero-Rodr guez  v. Ponte,
                                                ________________     ______

          Inc., 98 F.3d 670, 679 (1st Cir. 1996).  
          ____

                    The  persuasiveness  of  the  plaintiff s  argument  is

          undercut by its lack of supporting legal authority.  In fact, the

          relevant  extant  authority  runs  contrary  to  the  plaintiff s

          position.  As we have noted, courts have discretion

                    under the inherent power   necessarily vested
                    in [them]  to manage their own  affairs so as
                    to  achieve  the   orderly  and   expeditious
                    disposition of cases. 



                                         -12-














          Luis C.  Forteza &amp; Hijos, Inc.  v. Mills, 534 F.2d  415, 418 (1st
          ______________________________     _____

          Cir. 1976) (quoting Link v. Wabash, 370 U.S. 626, 630-31 (1962)).
                              ____    ______



                    The minutes  of the  March 16, 1995,  status conference

          indicate that the  trial judge  did not abuse  his discretion  in

          conducting the  conference.  At  that conference the  trial judge

          properly  recognized  the  plaintiff s  former  counsel  for  the

          limited purpose of  granting him permission to withdraw  from the

          case and at  the same time made an appropriate  inquiry of him as

          to the status of  any pending discovery.  Counsel  indicated that

          no  discovery was  pending.   The trial  judge s decision  not to

          extend  discovery at that time based on counsel s response was an

          appropriate exercise  of his case management  authority given the

          fact that the  case had  been languishing on  the district  court

          docket for more than four years and there had been ample time for

          discovery  to be completed.   There was still  an opportunity for

          the  plaintiff s successor counsel to attempt in a timely fashion

          to have  the deadline extended.  However, he waited for one month

          after  appearing in this case  to request an  extension, and that

          request was filed  on the  day before the  existing deadline  for

          discovery.    The  trial  judge  had  provided  ample   time  for

          discovery, and the  plaintiff s failure to take advantage of that

          opportunity,  whether attributable  to her  personally or  to her

          attorneys,  does  not provide  an adequate  basis  for us  now to

          second-guess the  trial  judge s determination  that, after  four

          years, the time to conclude discovery had come.


                                         -13-














                                 2.  Entry of Default
                                 2.  Entry of Default
                                 ____________________

                    The  plaintiff also  asserts  that  the district  court

          should have  entered a default  against the defendants  for their

          failure to answer  her amended complaint rather than allowing the

          motion to become  moot.  As we have noted,   [a] default judgment

          is  itself a drastic sanction that  should be employed only in an

          extreme  situation.   Forteza, 534  F.2d at 419;  cf. Anderson v.
                                _______                     ___ ________

          Beatrice Foods  Co.,  900 F.2d  388,  396 (1st  Cir.)  (discovery
          ___________________

          abuse,  while sanctionable, does not  require as a  matter of law

          imposition  of  most severe  sanctions available),  cert. denied,
                                                              ____________

          498 U.S. 891 (1990).   The facts of this  case do not present  an

          extreme situation justifying the entry of default.

                    It is  certainly  not  without  significance  that  the

          plaintiff took no action in  response to the defendants   failure

          to  answer until  more  than two  years  after the  deadline  had

          passed.  In  addition, the  defendants had  already answered  the

          plaintiff s initial  complaint and the amended  complaint did not

          materially  alter the plaintiff s theory  of the case.   There is

          nothing  in the  record  to  suggest  that the  district  court s

          failure to enter a default judgment under these circumstances was

          an abuse of discretion.  In another context, we have endorsed the

          authority of district courts to impose less than the most extreme

          sanction  available.  See  Anderson, 900  F.2d at  396 (discovery
                                ___  ________

          abuse).  We will  not upset the district court s  decision, which

          rested  within  its  sound discretion,  not  to  enter a  default

          judgment against the defendants.


                                         -14-














                     3.  Exclusion of Plaintiff s Expert Witness
                     3.  Exclusion of Plaintiff s Expert Witness
                     ___________________________________________

                    The  plaintiff  next  argues that  the  district  court

          improperly barred  her from amending her  pretrial submissions to

          include her loss-of-income  expert.  She argues that allowing her

          loss-of-income expert  to testify would have  created no surprise

          or  prejudice to the defendants because  he was known to them and

          that excluding him deprived the plaintiff of her right to present

          those facts to the jury.  

                    We need not reach  the merits of this argument.   Since

          the plaintiff failed to  establish the defendants  liability, the

          district court s ruling on this matter did not affect the outcome

          of the case.

                                4.  Costs and Expenses
                                4.  Costs and Expenses
                                ______________________

                    Finally, the plaintiff seeks the  costs and expenses 

          she incurred at trial.  Since the plaintiff did not prevail at

          trial and has provided neither justification nor legal authority

          to support her claim that she is entitled to costs and expenses

          as a non-prevailing party, we find no abuse of discretion in the

          trial court s decision not to award her any costs or expenses.



                                      Conclusion
                                      Conclusion
                                      __________

                    For the reasons stated above, the judgment of the

          district court is affirmed.  Costs are awarded to the defendants. 
                            affirmed
                            ________








                                         -15-









